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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KENNETH O. LAFRENIE                                        Civil Action No. _________

                          Plaintiff,

     v.

 PORT AUTHORITY OF ALLEGHENY COUNTY,

                          Defendant.                        JURY TRIAL DEMANDED

                                          COMPLAINT

          Plaintiff, Kenneth O. LaFrenie, by undersigned counsel files this Complaint and in

support alleges the following.

                                          I. Jurisdiction

          1.      The jurisdiction of this Court is invoked pursuant to the Americans with

Disabilities Act of 1990 (ADA), 42 U.S.C. §§12101, et seq. as amended; 28 U.S.C. §§

1331 and 1343(a)(4); and 29 U.S.C. §2617(a)(2) and this Court’s supplemental

jurisdiction pursuant to 28 U.S.C. §1367.

                                            II. Venue

          2.      Venue is proper in the Western District of Pennsylvania, in that this action

arises out of events that occurred in or around Allegheny County.

                                   III. Administrative Remedies

          3.      LaFrenie has satisfied all procedural and administrative requirements set

forth in 42 U.S.C. §12102, et seq. in that:

                  a.     On or about November 6, 2015, Plaintiff filed a
                         timely Charge of Discrimination with the Equal
                         Employment Opportunity Commission (EEOC),
                         which was cross-filed with the Pennsylvania
                         Human Relations Commission.
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              b.     Plaintiff received a Notice of Right to Sue from
                     the EEOC dated February 28, 2017.

              c.     This case was filed within 90 days of receipt of
                     the Notice of Right to Sue.

              d.     More than one year has lapsed since the date
                     Plaintiff filed his PHRC complaint.

                                        IV. Parties

      4.      LaFrenie is an adult individual who resides at 2106 Straubs Lane,

Pittsburgh, Pennsylvania 15212.

      5.      Defendant, Port Authority of Allegheny County, is a Port Authority created

under the Second Class County Port Authority Act, 53 P.S. §557, and has its principal

place of business at 345 Sixth Avenue, Third Floor, Pittsburgh, PA 15222.

      6.      At all times relevant hereto, Defendant is and was an employer within the

meaning of the ADA, 42 U.S.C. §§ 12111(2) and (5)(A), as amended, in that it is an

employer engaged in an industry affecting interstate commerce and has 15 or more

employees for each working day in each of 20 or more calendar weeks in the current

and/or preceding year and within the meaning of 43 Pa. Cons.Stat.Ann. § 955, as it

employs 4 or more individuals.

      7.      At all times relevant hereto, Defendant acted or failed to act by and through

its duly authorized agents, servants and employees, who conducted themselves within

the scope and course of their employment.

                                         V. Facts

      8.      LaFrenie has Type II diabetes.

      9.      Due to his Type II diabetes, LaFrenie takes insulin and is limited in the major



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life activities of eating and endocrine function.

       10.    In October 2015, LaFrenie applied for a mechanic position with Defendant.

       11.    After an interview and initial screening, Defendant offered LaFrenie the

mechanic position, contingent upon him passing a drug screening and U.S. Department

of Transportation (DOT) physical exam.

       12.    On October 15, 2015, LaFrenie underwent a physical exam at Concentra

Medical Center for a commercial driver fitness determination.

       13.    Due to his diabetes, Defendant advised LaFrenie that he was being denied

employment as a mechanic.

       14.    When Defendant’s mechanics test drive the buses, Defendant’s practice is

to have two mechanics on the bus when doing so.

       15.    Defendant did not make an individualized assessment whether LaFrenie

posed any safety risk as a mechanic.

       16.    Defendant did not engage in an interactive process to determine whether

Defendant could provide LaFrenie with a reasonable accommodation to perform his

duties as a mechanic.

       17.    Defendant did not provide LaFrenie with any reasonable accommodation

so he could perform his duties as a mechanic.

                                        Count I
                             ADA – Disability Discrimination

       18.    LaFrenie incorporates by reference the allegations of paragraphs 1 through

17 as if fully restated herein.

       19.    LaFrenie is a qualified individual with a disability within the meaning of the

ADA.

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        20.      Defendant failed to hire LaFrenie because of his disability, record of

disability and/or perceived disability in violation of Section 102(a) of the ADA, 42 U.S.C.

§12112(a).

        21.      Defendant’s actions of denying LaFrenie employment because of his

disability, record of disability and/or perceived disability were undertaken with reckless

indifference to LaFrenie’s federally protected right to be employed without regard for his

disability.

        22.      As a direct result of Defendant’s discriminatory actions in violation of the

ADA, LaFrenie has lost wages and other economic benefits of employment with

Defendant, in addition to suffering extreme emotional distress, depression, and like

conditions.

        WHEREFORE, Plaintiff demands judgment as follows:

                 a.    That the Court enter a judgment declaring Defendant’s
                       actions to be unlawful and in violation of the ADA;

                 b.    That Defendant be ordered to reinstate Plaintiff and
                       provide him accumulated seniority, fringe benefits and
                       all other rights;

                 c.    That Defendant be required to compensate Plaintiff for
                       the full value of wages, he would have received had it
                       not been for Defendant's illegal treatment of Plaintiff,
                       with interest;

                 d.    That Defendant be required to compensate Plaintiff for
                       lost benefits, including profit sharing and/or pension
                       benefits, he would have received had it not been for
                       Defendant’s illegal treatment of Plaintiff, with interest;

                 e.    That Plaintiff be awarded compensatory damages in an
                       amount to be determined at trial;

                 f.    That Defendant be ordered to pay Plaintiff punitive
                       damages;

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              g.      That Defendant be enjoined from discriminating or
                      retaliating against Plaintiff in any manner prohibited by
                      the ADA;

              h.      That Plaintiff be awarded against Defendant the costs
                      and expenses of this litigation, including a reasonable
                      attorney’s fee; and

              i.      That Plaintiff be granted such further legal and
                      equitable relief as the Court may deem just and proper.

                                        Count II
                             ADA – Failure to Accommodate

       23.    LaFrenie incorporates by reference the allegations of paragraphs 1 through

22 as if fully restated herein.

       24.    Defendants also denied employment opportunities to LaFrenie because of

the need to make reasonable accommodations to LaFrenie’s known disability in violation

of Section 102(b) of the ADA, 42 U.S.C. § 12112(b)(5)(A), and 12112(b)(5)(B).

       25.    Defendants’ actions of denying LaFrenie employment opportunities

because of the need to make reasonable accommodations to LaFrenie’s known disability

was undertaken with reckless indifference to LaFrenie’s federally protected right to be

employed without regard for his disability.

       26.    As a direct result of Defendant’s discriminatory actions in violation of the

ADA, LaFrenie has lost wages and other economic benefits of employment with

Defendant, in addition to suffering extreme emotional distress, depression, and like

conditions.

       WHEREFORE, Plaintiff demands judgment as follows:

              a.      That the Court enter a judgment declaring Defendant’s
                      actions to be unlawful and in violation of the ADA;



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              b.     That Defendant be ordered to reinstate Plaintiff and
                     provide him accumulated seniority, fringe benefits and
                     all other rights;

              c.     That Defendant be required to compensate Plaintiff for
                     the full value of wages, he would have received had it
                     not been for Defendant's illegal treatment of Plaintiff,
                     with interest;

              d.     That Defendant be required to compensate Plaintiff for
                     lost benefits, including profit sharing and/or pension
                     benefits, he would have received had it not been for
                     Defendant’s illegal treatment of Plaintiff, with interest;

              e.     That Plaintiff be awarded compensatory damages in an
                     amount to be determined at trial;

              f.     That Defendant be ordered to pay Plaintiff punitive
                     damages;

              g.     That Defendant be enjoined from discriminating or
                     retaliating against Plaintiff in any manner prohibited by
                     the ADA;

              h.     That Plaintiff be awarded against Defendant the costs
                     and expenses of this litigation, including a reasonable
                     attorney’s fee; and

              i.     That Plaintiff be granted such further legal and
                     equitable relief as the Court may deem just and proper.

                                         Count III
                                          PHRA

       27.    LaFrenie incorporates paragraphs 1 through 26 as though the same had

been fully set forth at length herein.

       28.    Defendant denied employment to LaFrenie because of his disability,

perceived disability and/or record of disability and/or the need to make reasonable

accommodations to LaFrenie’s known disability in violation of the PHRA, 43 Pa. Conns.

Stat.Ann. § 955(a) et seq.



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      29.     Defendant’s discrimination of LaFrenie was in violation of the PHRA, 43 Pa.

Conns. Stat.Ann. §955(a) et seq.

      30.     As a direct result of Defendant’s discriminatory actions in violation of the

PHRA, LaFrenie has lost wages and other economic benefits of his employment with

Defendant, in addition to suffering extreme emotional distress, depression, and like

conditions.

              WHEREFORE, Plaintiff demands judgment as follows:

              a.    That the Court enter a judgment declaring Defendant’s
                    actions to be unlawful and in violation of the PHRA;

              b.    That Defendant be ordered to reinstate Plaintiff and
                    provide him accumulated seniority, fringe benefits and
                    all other rights;

              c.    That Defendant be required to compensate Plaintiff for
                    the full value of wages he would have received had it
                    not been for Defendant's illegal treatment of Plaintiff,
                    with interest;

              d.    That Defendant be required to compensate Plaintiff for
                    lost benefits, including profit sharing and/or pension
                    benefits he would have received had it not been for
                    Defendant's illegal treatment of Plaintiff, with interest;

              e.    That Plaintiff be awarded compensatory damages in an
                    amount to be determined at trial;

              f.    That Defendant be enjoined from discriminating or
                    retaliating against Plaintiff in any manner prohibited by
                    the PHRA;

              g.    That Plaintiff be awarded against Defendant the costs
                    and expenses of this litigation, including a reasonable
                    attorney’s fee; and

              h.    That Plaintiff be granted such further legal and
                    equitable relief as the Court may deem just and proper.




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                                 Respectfully submitted:

                                 JOHNSTON LYKOS, LLC

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